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AT BALTIMORE
SRD USAO 2018R00983 CLE US. DISTRICT COURT

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IN THE DISTRICT COURT OF THE UNITED STATES DEPUTY

FOR THE DISTRICT OF MARYLAND
Gh IR-al-O49GX

 

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UNITED STATES OF AMERICA } Criminal Number:
)
7 ) (Wire Fraud, 18 U.S.C. § 1343; Filing a False Tax
) Return, 26 U.S.C. 7206(1))
TYRONE JERMAINE SHERROD 3
)
INFORMATION
COUNT ONE

The United States Attorney for the District of Maryland charges that:
INTRODUCTION

At all times relevant to this Information:

1. Defendant TYRONE JERMAINE SHERROD (“SHERROD”) resided in
Maryland.

2, SHERROD operated We Imagine, Inc. (“We Imagine”), a not-for-profit
organization originally established in the State of New York in 2005 and qualified as a foreign
corporation in the State of Maryland in 2007.

3. Between approximately 2015 and 2019, SHERROD operated after-school and
summer educational and sports programs through We Imagine at an elementary school located in
Baltimore, Maryland.

4. We Imagine’s largest source of funding was through a grant known as the

Maryland 21st Century Community Learning Centers (“21st Century”). The grant was funded by
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the U.S, Department of Education through the Maryland State Department of Education

(“MSDE”).

5, SHERROD applied and was awarded a $1.1 million 21st Century grant. The
grant was payable over three periods that coincided with three school years beginning in
September 2015 and running through June 2018. The grant payments began in March 2016.

6. For each grant period, We Imagine received a 15% advance payment. The
remaining funds were reimbursed on an approximately monthly basis and only after SHERROD
submitted a document known as a Project Invoice Summary. These summaries were submitted to
the MSDE via e-mail and were accompanied by supporting documentation such as payroll
registers and receipts.

THE SCHEME TO DEFRAUD

7. From at least September 2016, through and including at least 2018, in the District

of Maryland, and elsewhere,

TYRONE JERMAINE SHERROD,
did knowingly and willfully devise and intend to devise a scheme and artifice to defraud and to
obtain money from the United States Department of Education and the Maryland State
Department of Education, by means of false and fraudulent pretenses, representations, and
promises, to wit, the submission of fraudulent Project Invoice Summaries that overstated wages
earned, hours worked, and the time periods of employment for individuals associated with We

Imagine (the “scheme to defraud”).
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MANNER AND MEANS OF THE SCHEME TO DEFRAUD

It was a part of the scheme to defraud that:

8. Between 2016 and 2018, SHERROD electronically submitted 19 Project Invoice
Summaries falsely reporting total payroll of $746,005.02. SHERROD’s actual We Imagine
payroll during this time period was approximately $212,662.55, a difference of $533,342.47,

9. On or about September 9, 2016, SHERROD electronically submitted a Project
Invoice Summary for the period August 1, 2016 through August 15, 2016 reporting payroll in the
amount of $31,704.00. On or about October 14, 2016, SHERROD electronically submitted a
summary for the period August 15, 2016 through August 30, 2016 reporting payroll expense in
the amount of $38,269.32. The total reported payroll by SHERROD for the month of August
was $60,334.16. However, the actual payroll paid during this month was $36,649.10, an
overstatement of payroll expense in the amount of $23,685.06.

10.  Onor about July 28, 2017, SHERROD electronically submitted a Project Invoice
Summary for the period April 1, 2017 through April 30, 2017 reporting payroll in the amount of
$25,601.40. Actual payroll paid during this month was $2,500, an overstatement of payroll
expense in the amount of $23,101.40.

11. On or about May 22, 2018, SHERROD electronically submitted a Project Invoice
Summary for the period April 1, 2018 through April 30, 2018 reporting payroll in the amount of
$54,200.85. Actual payroll paid during this month was $1,000, an overstatement of payroll
expense in the amount of $53,200.85.

12. Rather than utilizing all of the funds obtained from the 21st Century grants on
not-for-profit after school and educational programs, SHERROD instead used the funds for

personal expenses, to include large gambling expenditures.
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THE CHARGE
(Wire Fraud)

13. The factual allegations contained in Paragraphs | through 12 of this Information
are realleged and incorporated herein as if copied verbatim.

14, On or about May 22, 2018, within the District of Maryland and elsewhere, the
Defendant,

TYRONE JERMAINE SHERROD,

knowingly executed, and attempted to execute, a scheme and artifice to defraud and to obtain
any of the moneys, funds, credits, assets, and other property owned by and under the custody and
control of a financial institution, by means of materially false and fraudulent pretenses, to wit:
the defendant submitted via interstate wire a fraudulent Project Invoice Summary to the

Maryland State Department of Education.

18 U.S.C. §1343.
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COUNT TWO
(Filing a False Tax Return)

1. Paragraphs | through 12 of Count One are realleged and incorporated by
reference as though fully set forth.

2. On or about April 15, 2019, in the District of Maryland and elsewhere, the
defendant,

TYRONE JERMAINE SHERROD,

did willfully make and subscribe a U.S. Individual Income Tax Return, Form 1040, and
accompanying schedules for the calendar year 2018, which was verified by a written declaration
that it was made under the penalties of perjury and which SHERROD did not believe to be true
and correct as to every material matter. Specifically, SHERROD there and then well knew that

the income tax return was false in that the amounts as listed in the chart below were substantially

different from the correct amounts.

 

 

 

 

 

Schedule C, Line |

(Gross Receipts for We Imagine, Inc.) $43,000
Schedule C, Line 31 $0

(Net Profit)

Form 1040, Line 6 (Total Income) $40,796
Form 1040, Line 15 (Total Tax) $0
Form 1040, Line 19 (Refund) $10,442

 

 

 

 

26 U.S.C. § 7206(1).
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FORFEITURE ALLEGATION

The United States Attorney for the District of Maryland further alleges that:

Ll. Pursuant to Fed. R. Crim, P, 32,2, notice is hereby given to the defendant that, in
the event of the defendant’s conviction on Count One of this Information, the United States will
seek forfeiture as a part of any sentence in accordance with 18 U.S.C. §§ 982(a)(2)(A) and (b)(1)
and 21 U.S.C. § 853(p).

Wire Fraud Forfeiture

2. Upon conviction of the offense alleged in Count One of this Information, the

defendant,

TYRONE JERMAINE SHERROD,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any property constituting,
or derived from, proceeds obtained directly or indirectly, as the result of such offense.

3. The property to be forfeited includes, but is not limited to, a money judgment in
the amount of approximately $533,342.47 representing the proceeds the defendant obtained from
his participation in the scheme to defraud.

Substitute Assets
3. If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
C. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
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€. has been commingled with other property that cannot be subdivided without

difficulty;
the United States shall be entitled to forfeiture of substitute property up to the value of the
forfeitable property described above pursuant to 21 U.S.C. § 853(p), as incorporated by

18 U.S.C. § 982(b)(1).

18 U.S.C. §§ 982(a)(2)(A) and (b)(1)
21 U.S.C. § 853(p)

Date: H9/21 Cuk L Banenf SP
EREK L. BARRON
United States Attorney

 
